                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                      THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In the Matter of:                                    )
                                                     )
Michael W. Davidson                                  )
SSN: XXX-XX-3867                                     )       CASE NO. 18-82270-CRJ11
                                                     )
               Debtor.                               )       CHAPTER 11
                                                     )

                  APPLICATION BY DEBTOR FOR APPROVAL
            OF EMPLOYMENT OF SPECIAL COUNSEL NUNC PRO TUNC

       COMES NOW, Michael W. Davidson, (“Debtor”) and hereby files this Application for

Approval of Employment of Ronald W. Smith, P.C., 229 East Side Square, Huntsville, Alabama

35801, as Special Counsel in accordance with Section 327(e) of the United States Bankruptcy

Code, and says as follows:

                                JURISDICTION AND VENUE

1.     On July 31, 2018 (the “Petition Date”) the Debtor filed a voluntary petition for relief under

       Chapter 11 of Title 11 of the United States Code, §§ 101, et. seq. (“Bankruptcy Code”),

       thereby commencing a Chapter 11 case [Doc. #1].

2.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This

       is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

3.     The venue of this proceeding is proper in this district pursuant to 28 U.S.C. §§ 1408 and

       1409.

                              BACKGROUND INFORMATION

4.     Since the Petition Date, the Debtor has continued in control and possession of his property

       pursuant to Sections 1107 and 1108 of the Bankruptcy Code. No trustee has been appointed

       in this case.




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5.    The Debtor has retained Ronald W. Smith and the law firm of Ronald W. Smith, P.C.

      (“Smith”) to represent him in this criminal case. For the reasons set forth herein it is

      necessary and beneficial to the Debtors to employ Smith as Special Counsel to continue to

      represent him in the criminal case.

6.    Debtor denies that he committed any crime. Obviously, since the automatic stay imposed

      pursuant to §362 does not stay criminal proceedings, it is very important to the Debtor and

      the estate that Debtor have qualified competent legal counsel.



                                    RELIEF REQUESTED

7.    Pursuant to this application, Debtor seeks to employ the law firm of Ronald W. Smith, P.C.

      as special counsel to represent him in the criminal proceeding effective nunc pro tunc as

      of the Filing Date.

8.    In the opinion of the Debtor, the employment of Ronald W. Smith of the law firm of Ronald

      W. Smith P.C. is in the best interest of the Debtor since he is well-qualified to act as counsel

      to represent the Debtor in that matter.

9.    Subject to this Court’s approval, and as set forth in his Declaration, Mr. Smith has been

      retained by the Debtor on an hourly fee basis. His hourly rate which he will charge the

      Debtors is $350/hour.

10.   The professional services that Ronald Smith, will render include:

          a. Advising the Debtor of his rights and remedies with respect to the criminal matter;

          b. Preparing on behalf of the Debtor all necessary pleadings, briefs, and other legal
             documents with respect to the criminal matter;

          c. Representing the Debtor in negotiations, discussions, litigation, or other
             proceedings related to the criminal matter; and




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         d. Performing legal services on behalf of the Debtor necessary to preserve or advance
            any rights and remedies the Debtor may have concerning the criminal matter.

                                         AUTHORITY


11.   Section 327(e) of the Bankruptcy Code governs the employment of special counsel. This

      section provides:

                     The trustee, with the court's approval, may employ, for a
                     specified special purpose, other than to represent the trustee
                     in conducting the case, an attorney that has represented the
                     debtor, if in the best interest of the estate, and if such attorney
                     does not represent or hold any interest adverse to the debtor
                     or to the estate with respect to the matter on which such
                     attorney is to be employed.

12.   In this case, it is in the best interest of the Debtor to employ the law firm of Ronald W.

      Smith, P.C, because he has considerable experience in suits of this type.

13.   The Debtor is informed and believes that Mr. Smith does not represent or hold any interest

      adverse to the Debtor or his estate with respect to the matters on which Mr. Smith is to be

      employed. Section 327(e) limits the scope of the inquiry to determining whether the special

      purpose attorney has an interest adverse to the estate in regards “… to the matter on which

      such attorney is to be employed.” (emphasis added). See, In re Covenant Fin. Grp. of Am.,

      Inc., 243 B.R. 450, 456-57 (Bankr. N.D. Ala. 1999) (neither the disinterested standard of

      §327(a) or the actual conflict standard contained in §327(c) apply when considering an

      application to employ special counsel). As such, Mr. Smith does not have interest adverse

      to the Debtor in regards to the criminal matter.

             WHEREFORE, PREMISES CONSIDERED, Debtor prays that he be authorized

      to employ Ronald W. Smith of Ronald W. Smith, P.C., as Special Counsel to the Debtor

      nunc pro tunc to July 1, 2019, for the purposes and under the arrangements as herein above




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        described, and that this Honorable Court enter its order approving said employment and

        the terms of payment thereof as described in the preceding paragraphs of this application,

        and that the Debtor have such other and further relief as is just and proper.

        Respectfully submitted on this 6th day of August, 2019.

                                                                 /s/ Kevin D. Heard
                                                                 KEVIN D. HEARD

Of Counsel:
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on the 6th day of August, 2019, I served a copy of the foregoing Application
by Debtor for Approval of Employment of Special Counsel Nunc Pro Tunc on the parties listed below
and on the attached matrix by depositing the same in the United States Mail, postage prepaid and properly
addressed, via electronic mail at the e-mail address below, unless the party being served is a registered
participant in the CM/ECF System for the United States Bankruptcy Court for the Northern District of
Alabama, service has been made by a “Notice of Electronic Filing” pursuant to FRBP 9036 in accordance
with subparagraph II.B.4. of the Court’s Administrative Procedures as indicated below:

Notice will be electronically mailed to:

Richard M Blythe Richard_Blythe@alnba.uscourts.gov, courtmaildec@alnba.uscourts.gov
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Notice, via US Mail, will be sent to:

All parties on the attached matrix were served via U.S. Mail.


                                                                 /s/ Kevin D. Heard
                                                                 KEVIN D. HEARD




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Label Matrix for local noticing             *Alabama Dept of Labor                        *Alejandro Jorge Rezzonico
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Case 18-82270-CRJ11                         Montgomery, AL 36131-0099                     120 Holmes Ave NE #303
NORTHERN DISTRICT OF ALABAMA                                                              Huntsville, AL 35801-4830
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Tue Aug 6 15:44:49 CDT 2019
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


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(u)Marina Claudia Rezzonico                          (u)The Estate of Julio Biora                         End of Label Matrix
                                                                                                          Mailable recipients    36
                                                                                                          Bypassed recipients     8
                                                                                                          Total                  44




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